Case 1:04-cv-01290-.]DT-de Document 24 Filed 08/30/05 Page 1 of 3 Page|D 22

 

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lN THE UNITED STATES DISTRICT COURT 4(/(,"?
FOR THE WESTERN DISTRICT OF TENNESSEE ;;{_'; 0 43 O-c_'
EAsTERN DivisIoN "§’f'» %)
TERRY L. CHARLTON )
)
Plaintiff, )
)
)
Vs. ) NO. 04-1290-T/An

)
)
TENNESSEE DEPARTl\/IENT OF )
CORRECTION, ET AL., )
)
Defendants. )

 

ORDER FOR PLAINTIFF TO SHOW CAUSE

 

Plaintiff Terry L. Charlton, an inmate at the Whiteville Correctional Facility in
Whiteville, Tennessee, filed a complaint pursuant to 42 U.S.C. § 1983. On February 18,
2005, the Court dismissed certain claims and defendants, and ordered that process be issued
for the remaining defendants, Corrections Corporation ofAmerica (“CCA”) and Dr. F. Cole.
CCA was served with process on March 4, 2005 and responded to the complaint by filing
a motion to dismiss on March 21, 2005. Defendant Cole was served on February 25, 2005
but has filed neither an answer nor a motion to dismiss

Although Cole has failed to respond to the complaint in accordance with the Federal
Rules ot`Civil Procedure, plaintiff has taken no further action with regard to this defendantl

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Case 1:04-cv-Ol290-.]DT-de Document 24 Filed 08/30/05 Page 2 of 3 Page|D 23

Therefore, plaintiff is hereby ORDERED to show cause, within 20 days after the entry of
this order, why his claims against defendant Cole should not be dismised for failure to

prosecute

IT IS SO ORDERED.

A‘QMM

JA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE U

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:04-CV-01290 was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

